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                                                 September 18, 2023

VIA ECF

Honorable Arun Subramanian
United States District Court
Southern District of New York
500 Pearl St.
New York, NY 10007-1312

        Re: Taveras v. New York City, 20 CV 01200 (AS)

Dear Judge Subramanian,

       I represent the plaintiff, Alan Taveras, in the above-referenced matter. I write in opposition to the
defendants’ request for a stay of the proceedings in this matter.

       Defendants’ request is based solely on the belief that the Supreme Court’s determination in
United States of America v. Rahimi (No. 22-915) is necessary for a determination of whether the City’s
denial of Plaintiff’s application for a license to possess rifles and shotguns violated his Second
Amendment rights. It is not.

        The sole consideration for this Court is the application of the test for Second Amendment
challenges, as reiterated by the Supreme Court in NYSRPA v. Bruen, 142. S.Ct. 2111 (2022): (i) does the
plain text of the Second Amendment cover Plaintiff’s conduct (‘keeping’ arms) – if so, the Second
Amendment ‘presumptively protects that conduct’; (ii) to justify its regulation, the City must
demonstrate that the regulation is consistent with this Nation’s historical tradition of firearm regulation.
Bruen, at 2126, 2129-30.

        The Bruen test is neither ‘new’ nor ‘challenging.’ Bruen simply reiterated the text, history, and
tradition analysis used by the Supreme Court in in D.C. v. Heller 1 and McDonald v. City of Chicago 2
disregarded by various circuits in favor of an “interest balancing” test. Bruen, at 2129 (“In sum, the
Courts of Appeals’ second step is inconsistent with Heller’s historical approach and its rejection of
means-end scrutiny”); McDonald, at 785-86 (“In Heller, however, we expressly rejected the argument
that the scope of the Second Amendment right should be determined by judicial interest balancing and
this Court decades ago abandoned “the notion that the Fourteenth Amendment applies to the States only
a watered-down, subjective version of the individual guarantees of the Bill of Rights”) (cleaned up).

1
 554 U.S. 570 (2008).
2
 561 U.S. 742, 780 (2010) (plurality opinion).
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       The query for this Court is straightforward: has the City produced proof of a National tradition of
enforcing regulations and policies that are “distinctly similar” 3 to New York City’s regulation of rifles
and shotguns in “how” and “why” they curtailed Plaintiff’s right to possess long guns. Bruen, at 2132–
33.

        And while the term “law abiding” is referenced by the Supreme Court, the Bruen test does not
include a “law abiding” assessment. To the contrary, Supreme Court jurisprudence forecloses any ability
of the government to subjectively determine – as the License Division does (and did here) – whether
they feel someone is “law abiding.” 4,5

        If the City fails to produce proof of a National historical tradition, the Court must find that the
challenged New York City regulations and policies violate the Second Amendment. Bruen, at 2126,
2129-30 (only where the government proves that the regulation is consistent with the Nation’s historical
tradition of firearm regulation may a court conclude that the individual’s conduct falls outside the
Second Amendment’s ‘unqualified command’).

        Because there was no governmental regulation of rifles and shotguns – and certainly no National
tradition - when the Bill of Rights was ratified 6, staying progress in this case while waiting for a
decision in the Rahimi case, which has not yet been argued and will likely not yield a decision for
several months thereafter, is an unnecessary delay of the proceedings.

       Rahimi is also factually inapposite. Mr. Rahimi was convicted under 18 U.S.C. 922(g)(8) for
possessing firearms while he was actively subject to an order of protection. The issue in Rahimi is
whether making it a crime to possess firearms while being subject to an order of protection fits within
our Nation’s historical tradition of firearm regulation.

        But Plaintiff was not actively subject to an order of protection at the time he applied for a
Rifle/Shotgun license – or anytime thereafter. Plaintiff was never convicted of a crime – the City denied
his application based on allegations adjudicated in the criminal courts, terminated in his favor, and
sealed.

       Rahimi had an objective disqualifier to firearms possession under 18 U.S.C. 922(g)(8) –
possessing firearms while being subject to an existing protection order. But Plaintiff has no disqualifiers
under state or federal law to the possession of firearms – he has no disqualifying convictions and was
not ‘subject to an order of protection’ - yet he was nevertheless prohibited from possessing rifles and
shotguns. 7

3
  Bruen, at 2131.
4
  Bruen, at 2138, n. 9 (noting that shall-issue licensing regimes “appear to contain only narrow, objective, and definite
standards” guiding licensing officials…rather than requiring the appraisal of facts, the exercise of judgment, and the
formation of an opinion - features that typify proper-cause standards like New York’s”). From the platform of a shall-issue
licensing scheme with objective factors, individuals may challenge the constitutionality of each respective factor – similar to
the 18 U.S.C. 922(g) challenges in Rahimi and cases in other circuits.
5
   Bruen, at 2162 ( “unlike New York's may-issue regime, those shall-issue regimes do not grant open-ended discretion to
licensing officials”).
6
   Bruen, at 2137–38 (“the scope of the protection applicable to the Federal Government and States is pegged to the public
understanding of the right when the Bill of Rights was adopted in 1791”) (emphasis added) citing, Crawford v. Washington,
541 U.S. 36, 42–50 (2004) (Sixth Amendment); Virginia v. Moore, 553 U.S. 164, 168–169 (2008) (Fourth Amendment);
Nevada Comm’n on Ethics v. Carrigan, 564 U.S. 117, 122–125 (2011) (First Amendment).
7
  Had he lived any other county outside of New York City, Mr. Taveras would have been able to freely purchase and possess
rifles and shotguns. Exercising a constitutionally protected right should not depend on one’s zip code.
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        What’s more, barring Plaintiff’s possession of long guns based on the License Division’s opinion
that the arrest and allegations of domestic violence “raise safety concerns for [Plaintiff] and others” is
also directly contrary to the Supreme Court’s rejection of public safety ‘interest balancing’ in Heller,
McDonald, and Bruen.

        Bruen’s discussion of licensing regimes is also not material to the adjudication of Plaintiff’s
claims. First, Bruen was not a challenge to licensing requirements generally, nor is the case at bar. The
Supreme Court simply allowed “shall issue” licensing schemes to continue, cautioning “outlier” states
“like New York” that implement a “may issue” licensing scheme that its continued existence was
contingent on implementing “objective” factors, like the shall-issue jurisdictions. Bruen, at 2138, n. 9.
But New York has failed to make any such transition. Second, even shall-issue regimes are not beyond
constitutional challenge. Bruen, at 2138, n. 9 (“because any permitting scheme can be put toward
abusive ends, we do not rule out constitutional challenges to shall-issue regimes where, for example,
lengthy wait times in processing license applications or exorbitant fees deny ordinary citizens their right
to public carry”).

         Plaintiff will suffer unnecessary and undue prejudice from a stay of this litigation. This case was
filed in 2020, proceeded to the Second Circuit on appeal of the district court’s dismissal of the complaint
upon the City’s motion, remanded by the Circuit Court, proceeded through another motion to dismiss,
and is now finally on its way to being adjudicated on the merits. Although oral argument in Rahimi is
scheduled for November 7, 2023, it will not likely yield a written decision for several months thereafter
causing Plaintiff additional delay.

        For the foregoing reasons, the City’s request to stay this matter pending a decision in United
States of America v. Rahimi should, most respectfully, be denied.

       If the Court nevertheless grants the City’s motion for a stay, Plaintiff requests that the stay
commence after the parties’ respective motions for summary judgment have been fully submitted 8, with
the opportunity (if necessary) to submit a brief FRAP 28(j)-type letter to the Court within seven (7) days
of a decision in Rahimi regarding the effect, if any, the Supreme Court’s decision has on this Court’s
determination of the issues herein.
                                                  Defendants' motion for a stay is DENIED without
       Thank you for the Court’s consideration. prejudice. Defendants may renew their motion when the
                                                  parties' summary judgment motions have been fully
Respectfully,                                     submitted.

/s/                                                       The Clerk of Court is directed to terminate the motion at
Amy L. Bellantoni                                         ECF No. 69.
cc: Kerri A. Devine, Esq. (via ECF)                       SO ORDERED.




                                                          Arun Subramanian, U.S.D.J.
                                                          Date: September 21, 2023
8
    The parties’ motions/cross-motions for summary judgment are scheduled to be fully submitted on November 9, 2023.
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